Case 1:22-cv-11378-RGS Document 227-46 Filed 02/21/24 Page 1 of 22




             EXHIBIT 46
    Case 1:22-cv-11378-RGS Document 227-46 Filed 02/21/24 Page 2 of 22




                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MASSACHUSETTS



MODERNATX, INC. and MODERNA US, INC.,

                        Plaintiffs,
                  v.                       Case No. 1:22-cv-11378-RGS

PFIZER INC., BIONTECH SE, BIONTECH
MANUFACTURING GMBH, and BIONTECH US
INC.,

                        Defendants.



BIONTECH’S OPPOSITION TO MODERNA’S MOTION TO COMPEL PRODUCTION
   OF DOCUMENTS OVER WHICH BIONTECH HAS ASSERTED PRIVILEGE
       Case 1:22-cv-11378-RGS Document 227-46 Filed 02/21/24 Page 3 of 22


                                              TABLE OF CONTENTS

                                                                                                                                 Page

I.     INTRODUCTION ............................................................................................................. 1

II.    BACKGROUND ............................................................................................................... 2

       A.        The 2017-2018 BioNTech Documents Were Not Privileged ................................ 2

                 1.         BioNTech Non-Privileged Document BNT_COMIR_1378186 ............... 2

                 2.         BioNTech Non-Privileged Document BNT_COMIR_1379459 ............... 3

                 3.         BioNTech Non-Privileged Document BNT_COMIR_1379496 ............... 3

                 4.         BioNTech Non-Privileged Document BNT_COMIR_1379492 ............... 4

       B.        Unlike the 2017-2018 BioNTech Documents,
                 the 2020            Documents Are Privileged .................................................. 4

       C.        BioNTech Repeatedly Informed Moderna That, Unlike the 2017-2018
                 BioNTech Documents, the 2020           Documents Were Privileged ......... 5

III.   ARGUMENT ..................................................................................................................... 9

       A.        Legal Standard ....................................................................................................... 9

       B.        BioNTech’s Disclosure of Non-Privileged Documents
                 Cannot Waive Privilege ....................................................................................... 10

                 1.         The 2017-2018 BioNTech Documents
                            Did Not Contain Privileged Information ................................................. 10

                 2.         The 2020             Documents Reflect BioNTech’s Request
                            for Legal Advice from Outside Counsel and Are Privileged ................... 12

       C.        BioNTech Is Not Using Privileged Documents
                 as a “Sword” and a “Shield” ................................................................................ 14

IV.    CONCLUSION ................................................................................................................ 16




                                                                  i
         Case 1:22-cv-11378-RGS Document 227-46 Filed 02/21/24 Page 4 of 22




                                               TABLE OF AUTHORITIES

                                                                                                                                Page(s)

Cases

Columbia Data Prod., Inc. v. Autonomy Corp.,
   C.A. No. 11-12077-NMG, 2012 WL 6212898 (D. Mass. Dec. 12, 2012) ..............................10

Crane Sec. Techs. v. Rolling Optics AB,
   230 F. Supp. 3d 10 (D. Mass. 2017) ............................................................................10, 13, 14

Genentech, Inc. v. ITC,
   122 F.3d 1409 (Fed. Cir. 1997)..................................................................................................9

U.S. v. United Shoe Mach. Corp.,
   89 F. Supp. 357 (D. Mass. 1950) ...............................................................................................9

United States v. Catano,
   65 F.3d 219 (1st Cir. 1995) ......................................................................................................15

Upjohn Co. v. United States,
   449 U.S. 383 (1981) ...................................................................................................................9

Rules

Federal Rule of Evidence 502 ............................................................................................1, 6, 9, 10




                                                                    ii
      Case 1:22-cv-11378-RGS Document 227-46 Filed 02/21/24 Page 5 of 22




       Plaintiffs ModernaTX, Inc. and Moderna US, Inc.’s (collectively, “Moderna’s”) motion to

compel privileged correspondence, sent at the request of outside counsel in connection with

providing legal advice, should be denied.

I.     Introduction

       Moderna’s motion is premised on its erroneous contention that Defendants BioNTech SE,

BioNTech Manufacturing GmbH, and BioNTech US Inc. (collectively, “BioNTech”) waived

privilege by producing certain non-privileged documents that                              and other

BioNTech employees—none of whom is an attorney—created in 2017 and 2018 (collectively, the

“2017-2018 BioNTech Documents”). In response to an October 12, 2023 email from Moderna

asking whether BioNTech “makes any claim of privilege over” the specific 2017-2018 BioNTech

Documents, BioNTech confirmed that it does not. (Moderna Ex. 1 at 1-2.) Indeed, BioNTech

could not claim privilege over the 2017-2018 BioNTech Documents because they do not contain

or reflect a request for legal advice from a lawyer. As such, their disclosure cannot form the basis

of any privilege waiver. See, e.g., Fed. R. Evid. 502 (“The following provisions [relating to waiver]

apply, in the circumstances set out, to disclosure of a communication or information covered by

the attorney-client privilege or work-product protection.”).

       The separate documents that Moderna now seeks to compel were created years after the

2017-2018 BioNTech Documents. Specifically, in March 2020, BioNTech retained Boston-based

law firm                          to provide certain legal advice. (See Sections II.B and III.B.2,

infra.) During that engagement,                  lawyers created documents that contained legal

advice and/or requested information for the purpose of providing legal advice. (Id.)

then sent emails to various BioNTech scientists seeking the information requested by these same

            lawyers (collectively, the “2020               Documents”). (Id.)



                                                 1
       Case 1:22-cv-11378-RGS Document 227-46 Filed 02/21/24 Page 6 of 22




        All of the 21 documents Moderna now seeks to compel (see D.I. 206 at 6) are

unquestionably privileged: As BioNTech stated in its Third Supplemental Privilege Log, these

documents consist of

                                                            and presentations authored by

      lawyers. (Moderna Ex. 12 (Entry Nos. 7-27).) Accordingly, Moderna’s motion to compel

the 2020                  Documents—none of which is related to the non-privileged 2017-2018

BioNTech Documents—should be denied.

II.     Background

        A.       The 2017-2018 BioNTech Documents Were Not Privileged

        The 2017-2018 BioNTech Documents are comprised of emails between BioNTech

scientists and              , who was at the time

                           based out of Germany.1 (Moderna Exs. 3-6.)            was not a lawyer,

accord D.I. 206 at 2 (“              does not appear to have had a legal degree.”), and there were

no lawyers named in any of those emails. Moreover, none of the 2017-2018 BioNTech Documents

conveys privileged information or references the patents-in-suit, which did not issue until years

later, in 2020 and 2021.

                 1.    BioNTech Non-Privileged Document BNT_COMIR_1378186




1
                                             .
                                                 2
Case 1:22-cv-11378-RGS Document 227-46 Filed 02/21/24 Page 7 of 22




      2.    BioNTech Non-Privileged Document BNT_COMIR_1379459




      3.    BioNTech Non-Privileged Document BNT_COMIR_1379496




                                3
      Case 1:22-cv-11378-RGS Document 227-46 Filed 02/21/24 Page 8 of 22




               4.      BioNTech Non-Privileged Document BNT_COMIR_1379492




       B.      Unlike the 2017-2018 BioNTech Documents,
               the 2020             Documents Are Privileged

       Moderna moves to compel the production of the 2020                        Documents, which

correspond to Entry Nos. 7 to 27 on BioNTech’s Third Supplemental Privilege Log. D.I. 206 at 6.

As the privilege log states, the subject matter of those withheld documents is




                                                         (Moderna Ex. 12.)

       On March 30, 2020, BioNTech retained                      to provide confidential legal advice

relating to                                          . (Ex. 2,         Declaration, at ¶ 2.) For that

engagement,


                                                 4
       Case 1:22-cv-11378-RGS Document 227-46 Filed 02/21/24 Page 9 of 22




(Id. at ¶ 4.)             conveyed this request for information from the                   lawyers to

BioNTech scientists. The                  lawyers then used information received from BioNTech

scientists to prepare the confidential legal advice that BioNTech requested. (Id. at ¶ 5.)

        While             happened to author several of the 2020                  documents that were

sent to BioNTech scientists, they are unrelated to the 2017-2018 BioNTech Documents discussed

above, as demonstrated by the fact that                 2020 emails were sent in connection with a

project for which BioNTech engaged                   in 2020. (Id. at ¶ 2.)

        C.      BioNTech Repeatedly Informed Moderna That, Unlike the 2017-2018
                BioNTech Documents, the 2020           Documents Were Privileged

        Moderna’s motion to compel seeks the production of documents that BioNTech clawed

back because they contain privileged information from the                     law firm. When Moderna

asked how the withheld 2020                  Documents differed from the 2017-2018 BioNTech

Documents, BioNTech provided—on multiple occasions—the same response that it provides in

this opposition brief: The 2017-2018 BioNTech Documents simply do not contain privileged

information. Instead, as discussed above (Section II.A, supra), those documents reflect emails

between BioNTech employees that do not involve any legal advice or request for legal advice from

a lawyer. The documents that Moderna seeks to compel, on the other hand, contain privileged

information from               lawyers. (Ex. 2 at ¶¶ 4-5.)

        By way of background leading to this dispute, BioNTech properly clawed back some of

the 2020              Documents during the depositions of                                           ,


                                                 5
       Case 1:22-cv-11378-RGS Document 227-46 Filed 02/21/24 Page 10 of 22




both BioNTech scientists. 2 For example, during                      December 4, 2023 deposition,

Moderna’s counsel introduced

              ” dated August 19, 2020. (Moderna Ex. 2,               Tr. 270:17-271:6.) Moderna’s

counsel also introduced a document labeled “Privileged and Confidential.” (Id.,            Tr. 273:6-

19, 277:6-13.) BioNTech’s counsel clawed each document back because “it looks like this was a

document . . . where outside counsel has asked                                            so that they

can provide legal advice. It’s reflecting . . . a request for legal opinion.” (Id.,       Tr. 277:17-

23.)

         On December 6, 2023, Moderna’s counsel introduced another 2020                    Document

during              deposition that was labeled “Privileged and Confidential.” (Moderna Ex. 10,

       Tr. 220:7-8.; 220:22-221:3.) BioNTech’s counsel again clawed the document back because

it “reflect[s] request for legal advice . . . from BioNTech to their outside counsel.” (Id.,       Tr.

220:10-17.)

         On December 7 and 8, after the                     depositions, BioNTech provided written

notice requesting destruction of the clawed-back documents pursuant to the Protective Order.

(Moderna Ex. 11 at 1-3.) Along with that notice, BioNTech produced its Third Supplemental




2
   Moderna asserts in a footnote that “BioNTech knew by November 17, 2023 that Moderna had
cited the [clawed back] documents in support of Moderna’s claim that
                                                                                                      ”
D.I. 206 at 11 n.4. Pursuant to the parties’ agreed-upon procedure set forth in the Protective Order,
however, BioNTech could claw back documents upon actual notice that they contained privileged
information, which occurred shortly before December 7, 2023. D.I. 67 at ¶ 9.2 (“For purposes of
this Protective Order, ‘discovery’ shall mean ‘actual notice;’ the production of Privileged
Information alone is insufficient to constitute actual notice.”). Because the Protective Order
standard is binding under Federal Rule of Evidence 502(e) (“Controlling Effect of a Party
Agreement”), BioNTech’s claw-back notices, including those provided on December 7 and 8, were
timely. Indeed, Moderna has utilized this procedure to claw back more than 100 documents in this
case. (Exs. 3-18.)
                                                  6
        Case 1:22-cv-11378-RGS Document 227-46 Filed 02/21/24 Page 11 of 22




Privilege Log setting forth its bases for asserting privilege over the documents that it clawed back.

(Moderna Ex. 12.) Regarding Entry Nos. 7-27 (i.e., the 2020                         Documents that

Moderna seeks to compel), BioNTech described them either as




                                               (Id.)

         On December 12, 2023, Moderna sent a letter contending that BioNTech was attempting

to “use attorney-client privilege as both a sword and a shield.” (Moderna Ex. 13 at 4.) According

to Moderna, BioNTech did not withhold certain “correspondence where

                                                          ,” but did withhold “exhibits from

                   depositions” because, in those documents, “                       work was done

at the direction of outside counsel              .” (Id.) In making this assertion, Moderna simply

ignored that documents in 2020 actually involved the U.S. lawyers at                   , whereas the

2017-2018 documents did not. Moderna is thus wrong that “the two documents [from 2017-2018]

used on redirect with           ” involve the “same assertion” as the 2020               documents.

(Id.)

         On December 22, 2023, BioNTech responded to Moderna’s December 12 letter by

distinguishing the non-privileged 2017-2018 BioNTech Documents from the privileged 2020

             Documents. Regarding the 2020                  Documents, BioNTech explained that

               [t]wo of these documents were slides expressly labeled “Privileged
               and Confidential” when they were created by U.S. law firm
                               . The other three were the two emails to which the
                       slides were attached, which included specific requests from
                       to BioNTech scientists about those slides, and a third email
               from a BioNTech scientist in response. Each email was sent at
                          request to facilitate its provision of legal advice to
               BioNTech.

                                                 7
     Case 1:22-cv-11378-RGS Document 227-46 Filed 02/21/24 Page 12 of 22




(Moderna Ex. 15 at 1.) On the other hand, regarding the 2017-2018 BioNTech Documents,

BioNTech stated, “from an investigation into the available facts about whether these

communications relayed an attorney’s legal advice, or a request from an attorney to facilitate

provision of legal advice, BioNTech determined that a privilege claim was not warranted for those

five specific documents.” (Id. at 3.)

       BioNTech’s December 22 letter clearly explained that BioNTech was not selectively

asserting privilege over communications between                and BioNTech scientists, and thus

should have resolved the issue. (Id.) Specifically, the 2020 communications involving

were withheld as privileged only because they reflected legal advice or a request for legal advice

from lawyers who can sustain a claim of privilege.                himself is not a lawyer, and his

communications on their own cannot generate privilege.

       Nevertheless, Moderna sent another letter on January 3, 2024. (Moderna Ex. 16.) While

acknowledging that “                    was not an attorney,” Moderna’s letter maintained that the

2017-2018 BioNTech Documents “undoubtedly contained

       and involved                              .” (Id. at 1.) Moderna’s letter, however, ignored

BioNTech’s dispositive point that the 2017-2018 BioNTech Documents did not contain privileged

information. That a document “contained                                             ” from a non-

lawyer, again, does not make that document privileged.

       On January 4, 2024, the parties met and conferred. Once more, BioNTech explained to

Moderna that it could not have clawed back the 2017-2018 BioNTech Documents because those

documents contain no privileged information, as required for any Protective Order clawback.

D.I. 67 at ¶ 9.2. In subsequent correspondence, BioNTech informed Moderna that its assertion

that “mere language [appearing in the 2017-2018 BioNTech Documents] like



                                                 8
       Case 1:22-cv-11378-RGS Document 227-46 Filed 02/21/24 Page 13 of 22




                                                                                                  in

communications between non-lawyers does not make those particular documents privileged. In

each case, the actual communications in question did not include legal advice from a lawyer or a

request to or from a lawyer for the same.” (Moderna Ex. 20 at 2.)

III.    Argument

        A.     Legal Standard

        The attorney-client privilege has specific, well-established requirements:

               (1) the asserted holder of the privilege is or sought to become a client;
               (2) the person to whom the communication was made (a) is a
               member of the bar of a court, or his subordinate and (b) in
               connection with this communication is acting as a lawyer; (3) the
               communication relates to a fact of which the attorney was informed
               (a) by his client (b) without the presence of strangers (c) for the
               purpose of securing primarily either (i) an opinion on law or (ii)
               legal services or (iii) assistance in some legal proceeding, and not
               (d) for the purpose of committing a crime or tort; and (4) the
               privilege has been (a) claimed and (b) not waived by the client.

U.S. v. United Shoe Mach. Corp., 89 F. Supp. 357, 358-59 (D. Mass. 1950). “The attorney-client

privilege protects the confidentiality of communications between attorney and client made for the

purpose of obtaining legal advice.” Genentech, Inc. v. ITC, 122 F.3d 1409, 1415 (Fed. Cir. 1997).

The purpose of the privilege “is to encourage full and frank communication between attorneys and

their clients and thereby promote broader public interests in the observance of law and

administration of justice.” Upjohn Co. v. United States, 449 U.S. 383, 389 (1981).

        BioNTech and Moderna agree that Federal Rule of Evidence 502(a) sets forth the grounds

for extending waiver of “attorney-client privilege or work-product protection . . . to undisclosed

communication[s] or information” based on disclosure made in a federal or state proceeding.

D.I. 206 at 9. While Moderna’s recitation of the legal standard does not explicitly say so (id.), the

waiver of privilege extending to “undisclosed communications or information” requires that the


                                                  9
     Case 1:22-cv-11378-RGS Document 227-46 Filed 02/21/24 Page 14 of 22




attorney-client privilege or work-product protection also cover the disclosure causing the waiver.

See Fed. R. Evid. 502 (waiver provisions “apply, in the circumstances set out, to disclosure of a

communication or information covered by the attorney-client privilege or work-product

protection”) (emphases added).

       Moderna’s own cited case law confirms that only the disclosure of a privileged document

can waive the privilege otherwise extending to an undisclosed document. See Columbia Data

Prod., Inc. v. Autonomy Corp., C.A. No. 11-12077-NMG, 2012 WL 6212898, at *16-17 (D. Mass.

Dec. 12, 2012) (stating that “[a] waiver occurs when a document otherwise privileged or protected

as work product is disclosed to an adversary” or where “a party is attempting to use otherwise

protected information as ‘both a sword and a shield’ in order to gain an unfair tactical advantage

over the opposing party.”) (emphases added). Consistent with this established legal principle,

“[t]he fact that communications are between non-lawyers does not per se waive the privilege.”

Crane Sec. Techs. v. Rolling Optics AB, 230 F. Supp. 3d 10, 21-22 (D. Mass. 2017).

       B.      BioNTech’s Disclosure of Non-Privileged Documents Cannot Waive Privilege

               1.     The 2017-2018 BioNTech Documents
                      Did Not Contain Privileged Information

       The disclosure and use of the 2017-2018 BioNTech Documents do not support a finding

of waiver that compels production of the unrelated 2020                  Documents because the

former did not contain privileged information. See Fed. R. Evid. 502; Columbia Data, 2012 WL

6212898, at *16. Moderna asserts that the 2017-2018 BioNTech Documents do contain privileged

information because they

              D.I. 206 at11. Moderna is incorrect.




                                               10
     Case 1:22-cv-11378-RGS Document 227-46 Filed 02/21/24 Page 15 of 22




       As a preliminary matter, the generic statement of             (a scientist) to             (a

non-lawyer),                       appear in just one of the 2017-2018 BioNTech Documents. 3

(Moderna Ex. 3.) Regardless, those words do not mean that a lawyer was actually contacted for

legal advice. To the contrary, BioNTech is not aware of any lawyer being contacted in response

to              email, and the remainder of Moderna Exhibit 3 does not relate to any legal advice

being sought from a lawyer. (See Section II.A, supra.) Moreover,                  testified that he

forwarded               email to              and the other BioNTech employees, none of whom

was a lawyer,
                                    4
                                        (Ex. 18,        Tr. 116:13-22.) An email between non-

lawyers—in which one non-lawyer generically states to another non-lawyer that

                            —is not a privileged communication. Had BioNTech designated such

a communication as privileged, it would have been wrong to do so. Moderna should not be

permitted to utilize BioNTech’s production of non-privileged documents as a vehicle for seeking

the production of unquestionably privileged, unrelated documents created years later.

       Attempting to buttress its speculation that Moderna Exhibit 3 contains privileged

information, Moderna asserts that the communication involved

            . D.I. 206 at 11. But none of the BioNTech employees on Moderna Exhibit 3 was a

lawyer. Moderna also notes that the 2017-2018 BioNTech Documents




3
  Moderna mischaracterizes the record in asserting that “BioNTech has affirmatively stated that
it is not clawing back several documents that include                                 ” D.I.
206 at 10. Only Moderna Exhibit 3 contains that quoted language.
4
 During             deposition, which Moderna conducted after it filed its motion to compel,
Moderna chose not to ask           if he contacted any lawyer in response to
email. (Ex. 18,          112:1-123:16.)              also testified that
                                             (Ex. 19,             179:15-17.)

                                                   11
       Case 1:22-cv-11378-RGS Document 227-46 Filed 02/21/24 Page 16 of 22




                                                                                      Id. But none of

those observations is inconsistent with BioNTech’s representation that Moderna Exhibit 3—which

does not identify any lawyers—contains no privileged information.

                2.       The 2020             Documents Reflect BioNTech’s
                         Request for Legal Advice from Outside Counsel and Are Privileged

        BioNTech properly withheld the 2020                    documents, i.e., Entry Nos. 7 to 27 on

BioNTech’s Third Supplemental Privilege Log (Moderna Exhibit 12), because those documents

contain privileged information. Unlike the 2017-2018 BioNTech Documents discussed above, the

2020                 documents were all generated as part of a new legal matter for which BioNTech

retained               . (Ex. 2,      Declaration, at ¶ 2.) As BioNTech explained in its privilege

log, the withheld documents are either



                        (Entry Nos. 7-17, 19, 21, 23, 25, and 27) or

                                                                              (Entry Nos. 18, 20, 22,

24, and 26).5 (Moderna Ex. 12.)

        Moderna’s half-hearted attempt to question BioNTech’s assertion of privilege over the

2020                   Documents should also be denied.         D.I. 206 at 13.     Ignoring that the

communication includes advice of the law firm of                    , Moderna asserts that “[n]one of

the people copied on these communications are lawyers.” Id. This Court has held, however, that


5
  To facilitate the Court’s in camera review: (1) Entry Nos. 7, 9, 10, and 23 are all part of the
same email chain and refer to the question in bolded blue text in presentation Entry No. 24;
(2) Entry Nos. 11, 12, 13, 15, 16, 21, 27 are all part of the same email chain and refer to the question
marked in bolded blue text in presentation Entry No. 22; (3) Entry No. 17 refers to the question
marked in bolded blue text in presentation Entry No. 18; (4) Entry No. 19 refers to the question
marked in bolded blue text in presentation Entry No. 20; and (5) Entry No. 25 refers to the question
marked in bolded blue text in presentation Entry No. 26. (Ex. 2,            Decl. at ¶ 5.)
                                                  12
       Case 1:22-cv-11378-RGS Document 227-46 Filed 02/21/24 Page 17 of 22




lawyers need not be copied on a communication for it to be privileged. See Crane Sec., 230 F.

Supp. 3d at 21-22 (holding that communications between non-lawyers “discuss[ing] or relay[ing]

legal advice without copying an attorney” were privileged).                 2020 emails requesting

information from BioNTech scientists were privileged because they “discuss or relay legal advice”

from               lawyers, even if those lawyers were not copied. Moreover, a declaration from

                 , one of BioNTech’s outside counsel from the               law firm, confirms that

the communications in Entry Nos. 7-17, 19, 21, 23, 25, and 27, which                    sent to certain

BioNTech scientists, “reflect requests for information from lawyers at              for purposes of

providing legal advice that BioNTech requested.” (Ex. 2,            Declaration, at ¶ 5.) Mr.

also confirmed that               lawyers used the information provided by BioNTech scientists in

those emails to prepare legal advice for BioNTech. (Id. at ¶ 6.)

                      declaration also disposes of Moderna’s argument that “BioNTech has offered

no evidence that counsel were involved in preparing the presentations.” D.I. 206 at 13. According

to his declaration, “[t]he lawyers at                       prepared the draft slides shown in Entry

Nos. 18, 20, 22, 24, and 26 for the purpose of providing legal advice that BioNTech requested,”

which were attached to                  emails. (Ex. 2,         Declaration, at ¶¶ 4-5.) The slides

themselves are labeled “Privileged and Confidential.” (Id.)

        The Court can also reject Moderna’s counterfactual as false. According to Moderna:

                To the extent that BioNTech is now claiming privilege over
                communications with                                                 ,
                then there is no question that BioNTech has intentionally waived
                privilege over them. And if the communications that BioNTech
                deliberately disclosed are not privileged, then there is no basis for
                BioNTech to withhold other communications with                    on
                the same subject matter.

D.I. 206 at 11. Moderna wrongly assumes that “communications with

                   ” must be either entirely privileged in every instance or not privileged in any
                                                 13
       Case 1:22-cv-11378-RGS Document 227-46 Filed 02/21/24 Page 18 of 22




instance. As discussed above, communications with                have been withheld as privileged

only where they reflect legal advice or a request for legal advice from lawyers who can sustain a

claim of privilege.                himself is not a lawyer, and his communications on their own

cannot generate a claim of privilege. There is also no legal basis for asserting that disclosure of

non-privileged documents can waive privilege otherwise extending to undisclosed documents

simply because they may have some subject matter in common (which Moderna in any event

cannot establish).

        For at least these reasons, Moderna’s argument that BioNTech waived privilege over the

2020                 Documents based on its decision to properly produce non-privileged documents

should be denied.

        C.     BioNTech Is Not Using Privileged Documents as a “Sword” and a “Shield”

        Moderna contends that the Court should compel production of the 2020

Documents because “BioNTech cannot in fairness shield from discovery documents showing

                                 while also affirmatively relying on documents related to the same

subject matter.” D.I. 206 at 14 (emphases added); see also id. at 12 (“BioNTech’s [alleged]

decision to disclose and rely upon certain communications with              ” precludes BioNTech

“from claiming privilege over the communications with                on the same subject matter.”).

        As a preliminary matter, the documents on which Moderna complains BioNTech

“affirmatively rel[ied]” are documents that Moderna requested from BioNTech through discovery.

For example, Moderna requested



Having requested those documents from BioNTech, Moderna is in no position to complain about

the “fairness” of producing them in the case.



                                                 14
      Case 1:22-cv-11378-RGS Document 227-46 Filed 02/21/24 Page 19 of 22




        Nor did BioNTech use the 2017-2018 BioNTech Documents as a “sword” in this case.

D.I. 206 at 10. Moderna focuses on             discussion of these documents as showing that



Id. at 12. It was Moderna, however, that first asked          about

                                                          (Ex. 21,       Tr. 212:12-218:2), and

thus, Moderna cannot now complain about testimony BioNTech elicited in response to its question,

see United States v. Catano, 65 F.3d 219, 226 (1st Cir. 1995) (“A district court may allow

testimony on redirect which clarifies an issue which the [opposing party] opened up on cross-

examination . . . .”).

        Regardless, the 2017-2018 BioNTech Documents and the 2020                 Documents do

not address “the same subject matter,” as Moderna asserts. D.I. 206 at 12, 14-15. Moderna is

vague about what it alleges to be “the same subject matter” between the two sets of documents.

Instead, Moderna relies on certain superficial facts, such as the “communications [being] between

                                                                              and employees at

BioNTech without any counsel present on the email.” Id. Moderna also notes other broad and

vague observations, such as              requesting input from BioNTech’s scientists regarding

                                      in different communications. Id. at 12-13. But in In re

EchoStar Communications Corp., which Moderna cites in its brief, the Federal Circuit considered

the relevant “subject matter” to be “advice of any counsel regarding infringement [of the patent-

in-suit].” 448 F.3d 1294, 1297 (Fed. Cir. 2006). In short, Moderna’s attempt to seek waiver of

any legal advice relating to                 —regardless of whether and how the non-privileged

and privileged communications are related—is legally untenable.




                                               15
      Case 1:22-cv-11378-RGS Document 227-46 Filed 02/21/24 Page 20 of 22




       Finally, Moderna argues that “BioNTech cannot use emails involving                    as part

of a backdoor                      defense to willfulness.” D.I. 206 at 15. BioNTech is not trying

to “backdoor” an                     as a defense to willfulness. Moderna continues to ignore that

the 2017-2018 BioNTech Documents do not contain privileged information—which is why

BioNTech produced them in the first place. And as discussed above (Section II.A, supra), those

documents do not even refer to the patents-in-suit, which did not issue until 2020 and 2021, several

years later. For the same reason, BioNTech is not attempting to (nor could it) “selectively waive

privilege over               emails to elicit [favorable testimony] from          ,” D.I. 206 at 15;

there was no privilege to waive. Moderna’s attempt to conflate these documents authored by non-

lawyers with documents containing bona fide legal advice from outside counsel from a different

time period is wholly misguided.

IV.    Conclusion

       For the reasons discussed above, Moderna’s motion to compel should be denied.




                                                16
    Case 1:22-cv-11378-RGS Document 227-46 Filed 02/21/24 Page 21 of 22




Dated: February 2, 2024

Respectfully submitted,

                                   DEFENDANTS AND COUNTERCLAIM-
                                   PLAINTIFFS BIONTECH SE, BIONTECH
                                   MANUFACTURING GMBH, AND BIONTECH
                                   US INC.

                                   By their Counsel,

                                   /s/ Jeffrey S. Robbins
                                   ______________________________
                                   Jeffrey S. Robbins, BBO #421910
                                   Jeffrey.Robbins@saul.com
                                   Joseph D. Lipchitz, BBO #632637
                                   Joseph.Lipchitz@saul.com
                                   Gregory M. Boucher, BBO #665212
                                   Gregory.Boucher@saul.com
                                   SAUL EWING LLP
                                   131 Dartmouth Street, Suite 501
                                   Boston, MA 02116
                                   Tel: (617) 723-3300

                                   OF COUNSEL:

                                   Bruce M. Wexler*
                                   Eric W. Dittmann*
                                   Young J. Park*
                                   Ashley N. Mays-Williams*
                                   Scott S. Peachman
                                   Karthik R. Kasaraneni*
                                   Ryan Meuth*
                                   PAUL HASTINGS LLP
                                   200 Park Avenue
                                   New York, NY 10166
                                   (212) 318-6000
                                   * Admitted pro hac vice

                                   Attorneys for Defendants and Counter-Claim
                                   Plaintiffs BioNTech SE, BioNTech
                                   Manufacturing GmbH, and BioNTech US, Inc.




                                    17
     Case 1:22-cv-11378-RGS Document 227-46 Filed 02/21/24 Page 22 of 22




                                CERTIFICATE OF SERVICE

       I, Gregory M. Boucher, hereby certify that on February 2, 2024, I caused the foregoing

Opposition to Moderna’s Motion to Compel Production of Documents over Which BioNTech Has

Asserted Privilege to be electronically filed with the Clerk of the Court via email pursuant to the

Court’s February 2, 2024 Order (Dkt. 214) granting Defendants’ Motion to Seal (Dkt. 213), and I

simultaneously served notice of such filing to all counsel of record to their registered electronic

mail addresses.



                                             /s/ Gregory M. Boucher
                                             Gregory M. Boucher (BBO# 665212)




                                                18
